         Case 1:20-cv-03590-JEB Document 185 Filed 09/02/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
FEDERAL TRADE COMMISSION,                           )
                                                    )
                              Plaintiff,            )
                                                    )      Case No. 1:20-cv-03590-JEB
                         v.                         )
                                                    )
META PLATFORMS, INC.,                               )      HON. JAMES E. BOASBERG
                                                    )
                              Defendant.            )
                                                    )

                        NOTICE OF WITHDRAWAL OF COUNSEL

       PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 83.6, the appearance of

David Wales for Non-Party TikTok Inc. is hereby withdrawn. Withdrawal is necessary because

Skadden, Arps, Slate, Meagher & Flom LLP will no longer represent TikTok Inc. in this action.

In connection with the withdrawal, the clerk is respectfully requested to remove my name from

the CM/ECF service list for this matter.

       TikTok Inc. will continue to be represented by Tiffany Rider Rohrbaugh, Craig M.

Reiser, Angela M. Farren, and Michael L. Keeley of Axinn, Veltrop & Harkrider LLP. My

withdrawal will not occasion a request for an extension of any deadlines in this case.
        Case 1:20-cv-03590-JEB Document 185 Filed 09/02/22 Page 2 of 3




Dated September 2, 2022
                                    Respectfully submitted,


                                    /s/ David Wales     _________
                                    David Wales (D.C. Bar No 456894)
                                    SKADDEN, ARPS, SLATE
                                      MEAGHER & FLOM LLP
                                    1440 New York Avenue NW
                                    Washington, DC 20005-2111
                                    Phone: 202.371.7000

                                    Attorney for TikTok Inc.




                                       2
         Case 1:20-cv-03590-JEB Document 185 Filed 09/02/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2022, I caused the foregoing document to be

electronically submitted with the Clerk of the Court for the United States District Court, District

of Columbia, using the CM/ECF system.




                                              /s/ David Wales
                                              David Wales (D.C. Bar No 456894)




                                                 3
